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                                        ORDERED.

     Dated: December 09, 2018




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


IN RE:                                                Case No. 8:18-bk-08117-RCT

SCOTT CRAWFORD,                                       Chapter 7
            Debtor.
______________________________________/

                 ORDER GRANTING MOTION FOR RELIEF FROM STAY
                         IN FAVOR OF BANK OF AMERICA, N.A.
              [Re: 4623 Lake Valencia Blvd W, Palm Harbor, Florida 34684-3922]

         THIS CASE came before the Court upon the Motion for Relief from Automatic Stay
[D.E. #8] (the “Motion”) filed by Bank of America, N.A. (“Secured Creditor”), pursuant to the
negative notice provisions of Local Rule 2002-4. Having considered the Motion and the absence
of any record objection to the relief requested, the Court deems the Motion to be uncontested.
The Court makes no determination that the Debtor has defaulted on the underlying obligation or
as to the Creditor’s standing. Accordingly, it is:
         ORDERED:
         1.     Secured Creditor’s Motion for Relief from Automatic Stay is granted.
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       2.       The automatic stay imposed by 11 U.S.C. §362 is terminated with respect to real
property located at 4623 Lake Valencia Blvd W, Palm Harbor, Florida 34684-3922 (the
“Property”), legally described as:
                LOT(S) R-28, BLOCK-B, LAKE VALENCIA – UNIT 2,
                ACCORDING TO PLAT THEREOF AS RECORDED IN
                PLAT BOOK 86, PAGE(S) 41 THROUGH 45, OF THE
                PUBLIC RECORDS OF PINELLAS COUNTY, FLORIDA.

       3.       This Order Granting the Motion for Relief from Stay is entered for the sole
purpose of allowing Secured Creditor to pursue its lawful in rem remedies against the Property.
Secured Creditor shall neither seek nor obtain an in personam judgment against Debtor(s).
       4.       All communications sent by Secured Creditor in connection with proceeding
against the Property including notices required by state law and communications to offer and
provide information with regard to a potential Forbearance Agreement, Loan Modification,
Refinance Agreement, Loss Mitigation Agreement or other Loan Workout, may be sent directly
to Debtor(s).
       5.       The Court in its discretion waives the fourteen (14) day stay of the Order Granting
Motion for Relief from Stay pursuant to Rule 4001(a)(3) of the Federal Rules of Bankruptcy
Procedure.
       6.       The Court makes no determination that the Debtor has defaulted on the
underlying obligation.


                                                   ###


Attorney Wanda D. Murray is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.

DEBTOR ATTORNEY
(via electronic notice)
Alan D Borden
data@1800debtrelief.com

DEBTOR
Scott Crawford
4623 Lake Valencia Blvd. West
Palm Harbor, FL 34684
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TRUSTEE
(via electronic notice)
Carolyn R. Chaney
carolyn.chaney@earthlink.net

UNITED STATES TRUSTEE
(via electronic notice)
United States Trustee - TPA7/13, 7
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602
USTPRegion21.TP.ECF@USDOJ.GOV
